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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re                                                   Chapter 11

    ALLEGIANCE COAL USA LIMITED,                            Case No. 23-10234 (CTG)
    et al.,
                                                            Joint Administration Requested
                                       1
                            Debtors.


                                       NOTICE OF WITHDRAWAL

            PLEASE TAKE NOTICE that the above-captioned Debtors hereby withdraw the filing

located on the Court’s docket at D.I. 7.




                                           [Signature page follows.]




1
            The Debtors in these cases, along with the last four digits of each Debtor’s federal EIN, are
            as follows: Allegiance Coal USA Limited (1324); New Elk Coal Holdings LLC (1314);
            New Elk Coal Company LLC (0615); and Black Warrior Minerals, Inc. (6486). The
            Debtors’ mailing address for these chapter 11 cases is 12250 Highway 12, Weston, CO
            81091.
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Dated: February 23, 2023        MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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